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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
    PRODUCTS LIABILITY                                                                   20-MD-2924
    LITIGATION
                                                             JUDGE ROBIN L ROSENBERG
                                                     MAGISTRATE JUDGE BRUCE REINHART



    THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
      Tannaz Horrivathkhah
    (Plaintiff Name(s))

                            SHORT-FORM COMPLAINT — VERSION 2

           The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

    Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

    Amended Master Personal Injury Complaint ("AMPIC") in In re: Zantac (Ranitidine) Products

    Lability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint —

    Version 2 as permitted by Pretrial Order No. 31 and as modified by the Court's Orders regarding

    motions to dismiss [DE 2532, 2512, 2513, 2515, and 20161

           Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

    of Actions specific to this case. Where certain claims require additional pleading or case specific

    facts and individual information, Plaintiff(s) shall add and include them herein.

           Plaintiff(s), by counsel, allege as follows:

                          I.      PARTIES, JURISDICTION, AND VENUE

       A. PLAINTIk (S)

           1.      Plaintiff(s)Tannaz Horriyatkhah ("Plaintiff(s)") brings this action (check the
                   applicable designation):

                           E]     On behalf of [himsel




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                            ❑        In representative capacity as the      , on behalf
                                     of the injured party, (Injured Party's Name)


            2.      Injured Party is currently a resident and citizen of (City, State)
                     Irvine, CA              and claims damages as set forth below.

                                                                   —OR--

                    Decedent died on (Month, Day, Year)                  At the time of
                    Decedent's death, Decedent was a resident and citizen of (City, State)


     If any party claims loss of consortium,

            3. Iman Behrahbakhsh                ("Consortium Plaintiff") alleges damages for loss of
                 consortium.

            4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                    citizen and resident of (City, State) Irvine, CA

            5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                      Irvine, CA

        B. DEFENDANT(S)


            6.      Plaintiff(s) name(s) the following Defendants from the Amended Master Personal
                    Injury Complaint in this action:

                       a. Brand-Name Manufacturers:
                            Boehringer Ingelheim(BI), Glaxo Smith Kline(GSK), Pfizer, Sanofi.


                       b. Generic Manufacturers:
                            Ajanta, Amnel, Apotex, Aurobindo, Dr. Reddy's, Glenmark, Granules, Heritage, Unique
                            pharmaceuticals, Lannett, Nostrum, Novitium, PAI, Par Pharmaceutical, Perrigo, Sandoz,
                            Strides.
                       c. Distributors and Repackager:
                           Amerisource Begen, Cardinal Health, McKesson, Gero-Care, GSMS. Sun
                           pharmaceutical, Teva, Torrent, Wockhardt, Zydus-Cadila

                       d. Retailers:
                            Albertson's, Amazon, BJ's, Costco, CVS, Dollar General, Dollar Tree, Express Scripts, Giant Eagle, HEB,
                            Humana, Hy-Vee, Kaiser Permanente, Kroger, Price chopper, Publix, Rite Aid, Shop-Rite, United Health
                            (optum Rx)
                       e. Others Not Named in the AMPIC:




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          C. JURISDICTION AND VENUE


            7.     Identify the Federal District Court in which Plaintiff(s) would have filed this action
                   in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
                   Court to which their original action was removed]:


            8.     Jurisdiction is proper upon diversity of citizenship.



                                         II.     PRODUCT USE


            9.     The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                          131     By prescription

                                  Over the counter

            10.    The Injured Party used Zantac and/or generic ranitidine from approximately
                   (month, year) July 2016       to December 2019 •



                                      HI.      PHYSICAL INJURY


            11.    As a result of the Injured Party's use of the medications specified above, [he/she]
                   was diagnosed with the following specific type of cancer (check all that apply):

     Check all Cancer Type                                                 Approximate Date of
     that                                                                  Diagnosis
     apply
     ❑         BLADDER CANCER
     fi        BREAST CANCER
     ri        COLORECTAL/INTESTINAL CANCER
     ri        ESOPHAGEAL CANCER
     fl        GASTRIC CANCER
     fl        KIDNEY   CANCER
     ❑         LIVER CANCER
     ❑         LUNG CANCER
     11        PANCREATIC CANCER
     ❑         PROSTATE CANCER
      x        OTHER CANCER: Thyroid Cancer                                November 2019

     ❑            DEATH (CAUSED BY CANCER)




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               12.    Defendants, by their actions or inactions, proximately caused the injuries to
                      Plaintiff(s).


                                 IV.     CAUSES OF ACTION ASSERTED

              13.     The following Causes of Action asserted in the Amended Master Personal Injury
                      Complaint are asserted against the specified defendants in each class of Defendants
                      enumerated therein, and the allegations with regard thereto are adopted in this Short
                      Form Complaint by reference.

              14.     By checking the appropriate causes of action below, Plaintiff(s) assert these causes
                      of action based upon the law and applicable Sub-Counts of the following state(s):1



       Check         Count                     Cause of Action                   States for which
       all that                                                                  the cause of action
       apply                                                                     was asserted in
                                                                                 the AMPIC
          F--          I     Strict Products Liability — Failure to Warn through All States and
                             Warnings and Precautions (Against Brand-Name        Territories, Except
                             Manufacturer Defendants)                            DE, IA, MA, NC,
                                                                                 PA, and VA
          {5-c-       II     Negligence — Failure to Warn through Warnings       All States and
                             and Precautions (Against Brand-Name                 Territories, Except
                             Manufacturer Defendants)                            LA, NJ, OH, and
                                                                                 WA
          Fl          III    Strict Products Liability — Failure to Warn through All States and
                             Proper Expiration Dates (Against Brand-Name and Territories, Except
                             Generic Manufacturer Defendants)                    DE, IA, MA, NC,
                                                                                 PA, and VA
          rx          IV     Negligence — Failure to Warn through Proper         All States and
                             Expiration Dates (Against Brand-Name and            Territories, Except
                             Generic Manufacturer Defendants)                    LA, NJ, OH, OK,
                                                                                 and WA
          x           V      Negligence - Failure to Warn Consumers through      CA, DE, DC, HI,
                             the FDA (Against Brand-Name and Generic             IN, KY, LA, MD,
                             Manufacturer Defendants)                            MA, MN, MO,
                                                                                 NV, NY, OR, and
                                                                                 PA
         171
          )           VI     Strict Products Liability — Design Defect Due to    All States and
                             Warnings and Precautions (Against Brand-Name        Territories, Except
                             Manufacturer Defendants)

    I In selecting the relevant states above, Plaintiffs reserve all rights to argue choice of law issues at
    a later time.



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       Check       Count                       Cause of Action                         States for which
       all that                                                                        the cause of action
       apply                                                                           was asserted in
                                                                                       the AMPIC
                                                                                       DE, IA, MA, NC,
                                                                                       PA, and VA
         rxi        VII     Strict Products Liability — Design Defect Due to           All States and
                            Improper Expiration Dates (Against Brand-Name              Territories, Except
                            and Generic Manufacturer Defendants)                       DE, IA, MA, NC,
                                                                                       PA, and VA
         Fi        VIII    Negligent Failure to Test (Against Brand-Name               KS, TX
                           and Generic Manufacturer Defendants)
         131
          (         IX     Negligent Product Containers: (Against Brand-               All States and
                           Name and Generic Manufacturers of pills)                    Territories
         ❑          X      Negligent Storage and Transportation Outside the            All States and
                           Labeled Range (Against All Retailer and                     Territories
                           Distributor Defendants)
                    XI     Negligent Storage and Transportation Outside the            All States and
                           Labeled Range (Against All Brand-Name and                   Territories
                           Generic Manufacturer Defendants)
         Fl         XII    Negligent Misrepresentation (Against Brand-Name             CA only
                           Manufacturers by Generic Consumers in
                           California)
         Ell       XIII    Reckless Misrepresentation (Against Brand-Name              MA only
                           Manufacturers by Generic Consumers in
                           Massachusetts)
         M         XIV     Unjust Enrichment (Against All Defendants)                  All States and
                                                                                       Territories
         x         XV      Loss of Consortium (Against All Defendants)                 All States and
                                                                                       Territories
         n         XVI     Wrongful Death (Against All Defendants)                     All States and
                                                                                       Territories

                   If Count XV or Count XVI is alleged, additional facts supporting the claim(s):
                   As a results of Defendants' Conduct, Plaintiff, Oman Babrehbakhsh, has lost love,
                   companionship, comfort, care, assistance, protection, affection, society, moral support, loss
                   of enjoyment of sexual relations and ability to have more children.



                                              V.      JURY DEMAND

             15.   Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.




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                                        VI.    PRAYER FOR RELIEF

            WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants' actions or

     inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

     action, jointly and severally to the full extent available in law or equity, as requested in the

     Amended Master Personal Injury Complaint.



     Signature Block

     Counsel for Plaintiff(s)




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